

















&nbsp;



•&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;•&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;•     
  •          •         •





OPINION

No. 04-07-00878-CV

IN RE TRAVELERS LLOYDS OF TEXAS INSURANCE COMPANY, et al.

Original Mandamus Proceeding




OPINION ON RELATORS’ MOTION FOR REHEARING EN BANC

Opinion by:  Steven C. Hilbig, Justice
&nbsp;
Sitting en banc:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Alma L. López, Chief Justice
Catherine Stone, Justice
Karen Angelini, Justice
Sandee Bryan Marion, Justice
Phylis J. Speedlin, Justice
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Rebecca Simmons, Justice
Steven C. Hilbig, Justice
&nbsp;
Delivered and Filed:&nbsp;&nbsp;&nbsp;September 17, 2008

PETITION FOR WRIT OF MANDAMUS DENIED

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In this mandamus proceeding, relators Travelers Lloyds of Texas Insurance Company,
Travelers Property &amp; Casualty, the Travelers Lloyds Insurance Company, the Travelers Indemnity
Company of America, and Kevin Shelton (the Travelers entities) claim they are entitled to a writ of
mandamus directing the trial court to grant their motion for severance and abatement. After a panel
of this court denied mandamus relief in a memorandum opinion, relators filed a motion for rehearing
and a motion for rehearing en banc. We grant the motion for rehearing en banc, deny the motion for
rehearing as moot, and withdraw the panel’s earlier opinion and substitute this opinion in its place. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Factual and Procedural Background
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On April 11, 2006, relators were sued by homeowners Apolonio and Maria Moncada for
contractual and extra-contractual claims, including violations of the common law duty of good faith
and fair dealing, the Texas Insurance Code, and Deceptive Trade Practices Act (DTPA). In their
petition, the Moncadas alleged they had made a claim under their homeowners insurance policy for
hail and water damage and were paid $1500.00 on this claim. The Moncadas subsequently
discovered additional damage to their house allegedly arising from the same loss. According to the
Moncadas, the Travelers entities breached the insurance contract and mishandled the claim by failing
to fully investigate the loss, underestimating the damage to their house, ignoring damage to the
structure, concealing facts from them about the damage to their home, and misleading them about
policy provisions.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On May 25, 2007, more than a year after the Moncadas filed suit, the Travelers entities made
a settlement offer of $2000.00.


 The Moncadas rejected the offer. Several weeks later, on June 13,
2007, the Travelers entities filed a motion requesting “a severance and abatement of Plaintiffs’ extra-contractual damage claims from their breach of contract claim until such time that there has been a
final, non-appealable resolution of Travelers’ obligations, if any, under the insurance contract.”
Travelers also requested an order abating all discovery related to the extra-contractual claims.
According to the motion,“[s]everance [was] required because evidence regarding Travelers’
settlement offer is admissible to rebut Plaintiffs’ extra-contractual ‘bad-faith’ claim; it is not,
however, admissible with respect to the contract claim.”
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;At the hearing below, the Travelers entities asserted they were entitled to a severance of the
contractual and extra-contractual claims and focused on the prejudice that might result if a jury heard
evidence of their settlement offer during the trial of the contract claim. The Travelers entities further
asserted they were entitled to an abatement of the extra-contractual claims because the parties would
be put to the effort and expense of conducting discovery on extra-contractual claims that could be
rendered moot by the trial of the contractual claim. The Moncadas countered that severance and
abatement were not required because their extra-contractual claims did not depend on the success
of their contractual claim. As an alternative to severance and abatement, the Moncadas proposed a
bifurcated trial. The Travelers entities acknowledged a bifurcated trial would “ameliorate[]” the
prejudice and acknowledged that courts sometimes ordered bifurcation under the circumstances
presented. Nevertheless, the Travelers entities opposed bifurcation. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;After considering the arguments presented, the trial court denied the motion to sever and
abate and ordered the Moncadas to submit an order. The record before us does not reflect that the
Travelers entities objected to the Moncadas’ proposed order, which included bifurcation provisions
and was ultimately signed by the trial court.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The Travelers entities then turned to this court for mandamus relief. In their mandamus
petition, the relators argue the trial court was required to grant their motion for severance and
abatement because they had made a settlement offer. The Travelers entities insist bifurcation is never
an acceptable substitute for severance. In response, the Moncadas contend the trial court had the
discretion to deny the motion for severance and abatement under the facts and circumstances of this
case. The Moncadas further argue the trial court acted well within its discretion when it denied the
motion and ordered a bifurcated trial.
Mandamus Prerequisites
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The extraordinary relief of mandamus is granted only when the trial court has clearly abused
its discretion and the relator lacks an adequate appellate remedy. In re Team Rocket, L.P.,
256&nbsp;S.W.3d 257, 259 (Tex. 2008). “With respect to resolution of factual issues or matters committed
to the trial court’s discretion . . . the reviewing court may not substitute its judgment for that of the
trial court.” Walker v. Packer, 827 S.W.2d 833, 840 (Tex. 1992). “To satisfy the clear abuse of
discretion standard, the relator must show ‘that the trial court could reasonably have reached only
one decision.’” Liberty Nat’l Fire Ins. Co. v. Akin, 927 S.W.2d 627, 630 (Tex. 1996) (quoting
Walker, 827 S.W.2d at 840).
Severance of Contractual and Extra-Contractual Claims&nbsp;The severance of claims generally rests within the sound discretion of the trial court. Id. at
629; Tex. R. Civ. P. 41 (providing that “actions which have been improperly joined may be severed
. . . on such terms as are just. Any claim against a party may be severed and proceeded with
separately.”). Claims are properly severable if (1) the controversy involves more than one cause of
action, (2) the severed claim is one that would be the proper subject of a lawsuit if independently
asserted, and (3) the severed claim is not so interwoven with the remaining action that they involve
the same facts and issues. Guar. Federal Sav. Bank v. Horseshoe Oper. Co.,793&nbsp;S.W.2d 652, 658
(Tex. 1990). The controlling reasons for a severance are to do justice, avoid prejudice, and promote
convenience. F.F.P. Oper. Partners, L.P. v. Duenez, 237 S.W.3d 680, 693 (Tex. 2007); id.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In Liberty National Fire Insurance Company  v. Akin, the leading Texas Supreme Court case
involving the severance of contractual and extra-contractual claims, the court recognized insurance
coverage claims and bad faith claims are by their nature independent. 927 S.W.2d at 629. “But, in
most circumstances, an insured may not prevail on a bad faith claim without first showing that the
insurer breached the contract.” Id. (emphasis added). In Akin, the supreme court analyzed the
contractual and extra-contractual claims presented by the plaintiff and held the trial court did not
abuse its discretion in denying the insurance company’s motions for severance and abatement. While
refusing to grant mandamus relief, the supreme court explained: A severance may nevertheless be necessary in some bad faith cases. A trial court will
undoubtedly confront instances in which evidence admissible only on the bad faith
claim would prejudice the insurer to such an extent that a fair trial on the contract
claim would become unlikely. One example would be when the insurer has made a
settlement offer on the disputed contract claim. As we have noted, some courts have
concluded that the insurer would be unfairly prejudiced by having to defend the
contract claim at the same time and before the same jury that would consider
evidence that the insurer had offered to settle the entire dispute. While we concur
with these decisions, we hasten to add that evidence of this sort simply does not exist
in this case. In the absence of a settlement offer on the entire contract claim, or other
compelling circumstances, severance is not required. 
&nbsp;
Id. at 630 (citations omitted). 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Importantly, while giving an example of a situation in which severance would be warranted,
the supreme court did not address the use of a bifurcated trial in the circumstances presented here.
A  majority of the justices expressly refused to create a bright-line rule that would extinguish the trial
court’s discretion and require severance and abatement whenever requested by an insurer:[T]he dissent urges an inflexible rule that would deny the trial court all discretion and
which would require severance in every case, regardless of the likelihood of prejudice.
Traditionally, severance has been reserved to the trial court’s discretion, where we
leave it today. The dissent would carve out a special rule for bad faith insurance cases.
We see this usurpation of the trial court’s discretion as unnecessary, unwise, and
inefficient. 
Id. (emphasis added).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Post-Akin, many Texas courts of appeals have held trial courts abused their discretion in
denying motions to sever and abate extra-contractual claims and have granted mandamus relief to
correct such an abuse of discretion. See, e.g., In re Allstate Indem. Co., 05-03-01493-CV, 2003 WL
22456345, at *1 (Tex. App.—Dallas Oct. 30, 2003, orig. proceeding); In re Trinity Universal Ins.
Co., 64 S.W.3d 463, 468 (Tex. App.—Amarillo 2001, orig. proceeding [mand. denied]). Like many
of our sister courts, this court has concluded a trial court abused its discretion in denying a motion
to sever and abate extra-contractual claims and granted mandamus relief to correct the error. In re
Maryland Cas. Ins. Co., 04-06-00413-CV, 2006 WL 2135052, at *2 (Tex. App.—San Antonio Aug.
2, 2006, orig. proceeding). 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In Maryland, we held the trial court abused its discretion in denying a motion to sever
contractual and extra-contractual claims when a settlement offer had been made. Id. at *2. We
concluded the insurer had no adequate appellate remedy because (1) the settlement offer, which
normally would not be admitted in connection with the contractual claim, would need to be admitted
in defending the extra-contractual claims, and (2) the court and the parties would be put to the
expense and effort of preparing and trying extra-contractual claims that may be disposed of in the
resolution of the breach of contract claim. Id at *1. As a result, we conditionally granted mandamus
relief. Id. at *2.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Unlike the situation presented in Maryland, it is undisputed the Moncadas had a covered loss.
The trial court could have reasonably concluded that a trial on the Moncadas’ breach of contract claim
would not eliminate the need for a trial on their extra-contractual claims. See In re Acceptance Indem.
Ins., 09-08-00033-CV, 2008 WL 659438, at *2 (Tex. App.—Beaumont March 13, 2008, orig.
proceeding) (concluding it was reasonable for the trial court to have concluded that a trial on the
policyholder’s contractual claims would not necessarily dispose of the policyholder’s delayed
payment claims); see also Progressive County Mut. Ins. Co. v. Boyd, 177&nbsp;S.W.3d 919, 922 (Tex.
2005) (recognizing bad faith claims are generally negated by a lack of coverage under the insurance
policy); Akin, 927 S.W.2d at 630-31 (recognizing that a judgment for the insurer on the coverage
claim prohibits recovery premised only on the bad faith denial of a claim, but it does not necessarily
bar all claims for bad faith). Under these circumstances, the primary justification for abatement of the
extra-contractual claims—avoiding the effort and expense of conducting discovery on claims that may
be rendered moot in a previous trial—is non-existent because the disposition of the contractual claim
will not moot the extra-contractual claims.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Additionally, in Maryland the trial court did not attempt to fashion a remedy to the apparent
prejudice occasioned by proof of a settlement offer during the trial of the contractual claim. Absent
such action, we held it was an abuse of discretion to deny the motion for severance and abatement.
Here, recognizing the potential for prejudice, the trial court ordered a bifurcated trial to remedy the
prejudice.
Bifurcation as an Alternative to Severance
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Severance and bifurcation are distinct trial procedures. Hall v. City of Austin, 450 S.W.2d
836,&nbsp;837-38 (Tex. 1970). A severance divides the lawsuit into two or more separate and independent
causes. Id. When this has been done, a judgment which disposes of all parties and issues in one of the
severed causes is final and appealable. Id. An order for bifurcation, or separate trials, leaves the
lawsuit intact but enables the court to hear and determine one or more issues without trying all
controverted issues at the same time. Id. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Rule 174(b) of the Texas Rules of Civil Procedure authorizes bifurcated trials. Tex. R. Civ.
P. 174(b) (“The court in furtherance of convenience or to avoid prejudice may order a separate trial
of any claim, cross-claim, counterclaim, or third-party claim, or of any separate issue or of any
number of claims, cross-claims, counterclaims, third-party claims, or issues.”). Rule 174(b)
contemplates one trial before one jury with separate parts. See Transp. Ins. Co. v. Moriel, 879 S.W.2d
10,&nbsp;30 (Tex. 1994); Hyman Farm Serv., Inc. v. Earth Oil &amp; Gas Co. Inc., 920 S.W.2d 452, 457-58
(Tex. App.—Amarillo 1996, no writ). 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Several Texas courts of appeals have been confronted with the situation before us and have
reviewed orders employing bifurcation as an alternative to severance and abatement of extra-contractual claims. Some of our sister courts have held the trial court did not abuse its discretion in
employing bifurcation in lieu of severance and abatement. See Acceptance Indemn. Ins. Co., 2008 WL
659438, at *1; In re Allstate Texas Lloyd’s, 202 S.W.3d 895, 900 (Tex. App.—Corpus Christi 2006,
orig. proceeding [mand. denied]). Others have concluded bifurcation was not an acceptable alternative
to severance. See In re Allstate Prop. and Cas. Ins. Co., 02-07-00141-CV, 2007 WL 1574964, at *1
(Tex. App.—Fort Worth May 30, 2007, orig. proceeding); In re Allstate County Mut. Co., 209 S.W.3d
742, 746-47 (Tex. App.—Tyler 2006, orig. proceeding). We decline to follow the cases rejecting
bifurcation.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Bifurcation has been embraced by the Texas Supreme Court to address evidence of a
defendant’s net worth, which has the potential to prejudice the jury’s determination of disputed issues
in a tort case. See Moriel, 879 S.W.2d at 30. We see no reason why bifurcation cannot be similarly
employed to address evidence of a settlement offer, which has the potential to prejudice the jury’s
determination of disputed issues in a breach of contract case. See id.; In re Ben E. Keith Co., Inc.,
198&nbsp;S.W.3d 844, 851 (Tex. App.—Fort Worth 2006, orig. proceeding) (holding the trial court did not
abuse its discretion by bifurcating, rather than severing, various claims into a second phase of trial). 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The relators argue a bifurcated trial can never be substituted for severance. In making this
argument, the relators speculate that a bifurcated trial will hamper voir dire on the settlement offer
evidence and impede judicial economy. We disagree. Voir dire inquiries may address bias or
prejudice, but may not be used to address how specific evidence such as settlement offer evidence
may affect a verdict. See Hyundai Motor Co. v. Vasquez, 189 S.W.3d 743, 751-53 (Tex. 2006).
Because the trial of the Moncadas’ extra-contractual claims is unaffected by the outcome of their
contractual claim, a single bifurcated trial preceded by unified discovery and pretrial proceedings
promotes judicial economy better than severance and abatement. See Allstate, 2007 WL 1574964, at
*1 (“[B]ifurcation facilitates the trial court’s duty to expeditiously dispose of the cases on its
docket.”); Allstate, 209 S.W.3d at 746 (“Bifurcation eliminates the need to conduct discovery a
second time in the event the insured prevails on its contractual claim, thereby reducing the delay in
adjudicating all of the insured’s claims.”).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The Travelers entities also complain about the wording used by the trial court in its bifurcation
order. While we agree the bifurcation provisions recited in the trial court’s order are not a model of
clarity, we note the Travelers entities had ample opportunity to object to the proposed order and failed
to do so.


 Because the relators’ complaints about the bifurcation provisions in the trial court’s order
were not presented to the trial court, they are not preserved for our review. See Tex. R. App. P.
33.1(a)(1)(A) (“As a prerequisite to presenting a complaint for appellate review, the record must show
that the complaint was made to the trial court by a timely request, objection or motion that stated the
grounds for the ruling that the complaining party sought from the trial court with sufficient specificity
to make the trial court aware of the complaint, unless the specific grounds were apparent from the
context.”); Shafer v. Bedard, 761 S.W.2d 126, 129 (Tex. App.—Dallas 1988, orig. proceeding) (“[A]
party is not entitled to relief in mandamus when, had [it] raised the same point on appeal, [it] would
be deemed to have waived the point.”).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We recognize matters of severance and bifurcation affect a trial court’s management and
control of its docket. A trial court is obliged to schedule its cases in such a manner as to expeditiously
resolve them, and a trial court is given broad discretion in managing its docket. Clanton v. Clark,
639&nbsp;S.W.2d 929, 931 (Tex. 1982). Given the many competing interests involved—fairness to the
parties, judicial economy, and the trial court’s right to manage and control its docket—we cannot say
severance and abatement was the only valid procedure available to the trial court under the facts and
circumstances of this case. Conclusion
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;It was incumbent upon the Travelers entities to demonstrate the trial court could reasonably
have reached only one decision. See Akin, 927 S.W.2d at 630. We conclude the relators have not met
this burden. Because we conclude the trial court did not act outside the boundaries of its discretion
in ordering a bifurcated trial under the facts and circumstances of this case, the relators’ petition  for
a writ of mandamus is denied. See Tex. R. App. P. 52.8(a).  
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Steven C. Hilbig, Justice


